Case 4:04-cr-40021-JPG       Document 267 Filed 05/28/08       Page 1 of 3   Page ID
                                       #486



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )
                                         )
vs.                                      )       Case No. 04-CR-40021-02-MJR
                                         )
JAMONTE L. ALLISON,                      )
                                         )
                    Defendant.           )

                 ORDER REGARDING MOTION TO REDUCE SENTENCE

REAGAN, District Judge:

             By motion filed May 27, 2008, Defendant Allison seeks to modify or reduce

his sentence under 18 U.S.C. § 3582(c)(2). This Order ADVISES DEFENDANT how his

motion will be handled in this District Court.

             On December 10, 2007, the United States Supreme Court scrutinized the

crack-cocaine-to-powder-cocaine sentencing disparity contained in the U.S. Sentencing

Guidelines and held that federal district courts can deviate from the Guidelines in

appropriate circumstances. Kimbrough v. United States, – U.S. –, 128 S. Ct. 558

(2007). At that point, the U.S. Sentencing Commission had not determined whether

November 2007 amendments to the Guidelines (reducing the base offense level

associated with some crack cocaine offenses) would be retroactive. On December 11,

2007, the Sentencing Commission decided that the amendments in question would be

retroactively applied as of March 3, 2008.



                                                                                    1
Case 4:04-cr-40021-JPG       Document 267 Filed 05/28/08         Page 2 of 3   Page ID
                                       #487



             On December 19, 2007, Chief Judge Herndon of this Court issued

Administrative Order 102. That Order addresses the amendments to the Sentencing

Guidelines and the motions to reduce sentence being filed in the wake of these

amendments.

             Administrative Order 102 provides, inter alia:

             (a) the Federal Public Defender’s Office of the Southern
             District of Illinois “is hereby designated to represent each
             defendant” who files a motion to reduce sentence; and

             (b) the U.S. Attorney’s Office need not file any response to a
             motion to reduce sentence until March 10, 2008.

             Administrative Order 102 is expressly made applicable to this case.

Pursuant to that Order, the undersigned Judge NOTIFIES Defendant that his motion has

been docketed in this Court, that the Federal Public Defender’s Office will be advised of

this filing, and that the United States will be directed to respond to the motion. This

Order will be provided to the Federal Public Defender’s Office and the United States

Attorney’s Office for this District, either automatically transmitted via the Court’s

electronic case filing system or otherwise sent by the Clerk’s Office.

             Although Administrative Order 102 appointed the Public Defender’s Office

to represent Defendant in any proceedings relating to the motion to reduce sentence,

that appointment does not prevent Defendant from retaining private counsel, including

any lawyer who may have represented Defendant in earlier proceedings in this District

Court or the Court of Appeals.



                                                                                       2
Case 4:04-cr-40021-JPG      Document 267 Filed 05/28/08        Page 3 of 3    Page ID
                                      #488



             Finally, Administrative Order 102 stated that the United States need not

respond before March 10, 2008 – suggesting that the United States would file a response

on or after March 10th.    The Court now CLARIFIES that – at this time – no formal

response need be filed and no briefing schedule will be set.

             The Court is carefully monitoring the status of each motion to reduce

sentence, including Allison’s motion. If a formal response is needed, or if a hearing

would be helpful, the undersigned Judge will enter a separate Order setting a briefing

schedule or hearing, as appropriate and necessary.

             IT IS SO ORDERED.

             DATED this 28th day of May 2008.


                                               s/ Michael J. Reagan
                                               MICHAEL J. REAGAN
                                               United States District Judge




                                                                                     3
